            Case 7:20-mj-13814-UA Document 3 Filed 12/29/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                     CONSENT TO PROCEED TELEPHONE
                                                                               OR VIDEO CONFERENCE
                             -against-
                                                                               20 Mag   /33 j'-f
Randolph A Scott Jr,
                             Defendant.
-----------------------------------------------------------------X

Defendant RANDOLPH A SCOTT, Jr. hereby voluntarily consents to participate in the following
proceeding via IZI videoconferencing or IZI teleconferencing:

IZI      Initial Appearance Before a Judicial Officer

D        Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

D        Guilty Plea/Change of Plea Hearing

•        Bail/Detention Hearing

•        Pretrial conference




                                               ,   ~ ~      \        - - - - - - - - ~ sf_ _ _ _ __
Defendant's Signature                         ~OJ~                   Defendant's Counsel's Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

Randolph A. Scott, Jr.                                               Susanne Brody
Print Defendant's Name                                               Print Counsel's Name



This proceeding was conducted by reliable video or tj,!jpho~e conferencing technology.

December 29, 2020                                                    ~~
Date                                                                 U.S. Magistrate Judge
                                                                     Southern District of New York
